          Case 4:01-cr-40057-JPG                        Document 372 Filed 07/22/08                        Page 1 of 4                     Page ID
                                                                  #439
"l!:!.AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet I



                                        UNITED STATES DISTRICT COURTSQ'C'«:/i':;" ~ ?                                               .Ii,




                                                           Southern District of Indiana                            ul:.     "u                  < ,
                                                                                                                      Jof~~' .~,~:               <'n
                                                                                                                           IVb                      <t.I!l1J
          UNITED STATES OF AMERICA                                          J Ud gment .m a C"
                                                                                             rlmma I C ase                t.:I~".  'I.~l''!?Ii:;-.
                                                                                                                              'f'''Q~                    Q

                     v.                                                     (For Revocation of Probation or Supervised Relea~Pj.;~:' OF-'/..                   t'
                    MARY JO TATUM                                                                                                               '~ "'{he
                                                                                                                                                       -'V/S

                                                                            Case No. 4:01CR40057-006-JPG
                                                                            USM No. 05405-025
                                                                             Melissa A. Day, AFPD
                                                                                                      Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)              as alleged in petition           of the tenn of supervision.
D was found in violation of condition(s)                 _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                Nature of Violation                                                                Violation Ended
Statutory                          The defendant committed the offense of DUI                                      04/01/2007


Standard # 2                       The defendant failed to submit written reports timely                           01/31/2008


       The defendant is sentenced as provided in pages 2 through                3       of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2046                         07/17/2008
                                                                                                Date of Imposition of Judgment
Defendant's Year of Birth:            1972

City and State of Defendant's Residence:
Marion,IL
                                                                                     11M e~~!it~e---
                                                                            J. Phil Gilbert                                     District Judge
                                                                                                    Name and Title of Judge
        Case 4:01-cr-40057-JPG                          Document 372 Filed 07/22/08                 Page 2 of 4         Page ID
                                                                  #440
 AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment
                                                                                                  Judgment - Page _;;;;;.2_ of    3
 DEFENDANT: MARY JO TATUM
 CASE NUMBER: 4:01CR40057-006-JPG


                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
8 months




    D The court makes the following recommendations to the Bureau of Prisons:




    t/ The defendant is remanded to the custody of the United States Marshal.
    D   The defendant shall surrender to the United States Marshal for this district:
           D    at    _________ D a.m.                              D     p.m.    on
           D    as notified by the United States Marshal.

    D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D    before 2 p.m. on
           D    as notified by the United States Marshal.
        D       as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

 I have executed this judgment as follows:




        Defendant delivered on                                                         to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                                 By
                                                                                            DEPUTY UNITED STATES MARSHAL
           Case 4:01-cr-40057-JPG                       Document 372 Filed 07/22/08                   Page 3 of 4            Page ID
                                                                  #441
  AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 3 - Supervised Release

                                                                                                     Judgment-Page      3      of        3
  DEFENDANT: MARY JO TATUM
  CASE NUMBER: 4:01CR40057-006-JPG
                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
24 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
  "      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  "      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
  1)         the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)         the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
             five days of each month;
  3)         the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
             officer;
  4)         the defendant shall support his or her dependents and meet other family responsibilities;
  5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
             or other acceptable reasons;
  6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
             convicted of a felony, unless granted permIssion to do so by the probation officer;
  10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
             confiscation of any contraband observed in plain view of the probation officer;
  11 )       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
             enforcement officer;
  12)        th~ defendant sh~lll).ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
             WIthout the permISSIon of the court; and
  13)        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
             defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
             notifications and to confirm the defendant's compliance with such notificatIOn requirement.
        Case 4:01-cr-40057-JPG                       Document 372 Filed 07/22/08           Page 4 of 4        Page ID
                                                               #442
 AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 3C - Supervised Release


 DEFENDANT: MARY JO TATUM                                                                  Judgment-Page          of   ---10'"---
 CASE NUMBER: 4:01CR40057-006-JPG

                                             SPECIAL CONDITIONS OF SUPERVISION

The defendant shall spend the first six months of supervised release in a residential reentry center at the direction of the
probation officer.

The defendant shall not consume any alcoholic beverages while on supervised release.

The defendant shall participate in a program of mental health treatment as directed by the probation officer until such time
as the offender is released from the program by the probation officer.

The defendant shall participate as directed and approved by the probation officer in treatment of narcotic addiction, drug
dependence, or alcohol dependence which includes urinalysis or other drug detection measures and which may require
residence and/or participation in a residential treatment facilitiy. Any participation will require complete abstinence from all
alcoholic beverages.
